Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     DANIELLE
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        KRISTINE
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   LAFATA
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2439
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
Debtor 1   DANIELLE KRISTINE LAFATA                                                                   Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3600 N. HAYDEN ROAD, UNIT #3312
                                 Scottsdale, AZ 85251
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Maricopa
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 P.O. BOX 701
                                 Scottsdale, AZ 85252
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Debtor 1    DANIELLE KRISTINE LAFATA                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    DANIELLE KRISTINE LAFATA                                                                       Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   DANIELLE LAFATA, NUTRITIONIST
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               P.O. BOX 701
     If you have more than one                 Scottsdale, AZ 85252
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Debtor 1    DANIELLE KRISTINE LAFATA                                                                   Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Debtor 1    DANIELLE KRISTINE LAFATA                                                                      Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ DANIELLE KRISTINE LAFATA
                                 DANIELLE KRISTINE LAFATA                                          Signature of Debtor 2
                                 Signature of Debtor 1


                                 Email Address of Debtor 1                                         Email Address of Debtor 2

                                 Executed on     April 2, 2019                                     Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY


Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Debtor 1   DANIELLE KRISTINE LAFATA                                                                       Case number (if known)



For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Jeffrey Cox                                                    Date         April 2, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Jeffrey Cox 26953
                                Printed name

                                Cox Law Offices
                                Firm name

                                P.O. Box 2324
                                Gilbert, AZ 85299
                                Number, Street, City, State & ZIP Code

                                Contact phone     480-820-3600                               Email address         farnsworthcourt@gmail.com
                                26953 AZ
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
 Fill in this information to identify your case:

 Debtor 1                   DANIELLE KRISTINE LAFATA
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             449,670.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              60,877.53

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             510,547.53

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             440,178.73

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              11,540.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             833,956.29


                                                                                                                                     Your total liabilities $             1,285,675.02


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,328.33

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,330.37

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                   Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            11,540.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            14,721.70

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             26,261.70




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
 Fill in this information to identify your case and this filing:

 Debtor 1                    DANIELLE KRISTINE LAFATA
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        3509 N. 32ND STREET                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Phoenix                           AZ        85018-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $390,000.00                $390,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Maricopa                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
 Debtor 1         DANIELLE KRISTINE LAFATA                                                                                      Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        3600 N. HAYDEN ROAD, UNIT #3312                                               Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Scottsdale                        AZ        85251-0000                        Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                    $198,900.00                   $59,670.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   TENANTS IN COMMON
        Maricopa                                                                      Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $449,670.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         HONDA                                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        CROSSTOUR                                          Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2014                                               Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:                       54,159                Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $16,184.00                  $16,184.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                           $16,184.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                              Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.


Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 2
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 Debtor 1       DANIELLE KRISTINE LAFATA                                                         Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    4 KITCHEN CHAIRS                                                                                             $20.00


                                    SMALL APPLIANCES                                                                                             $20.00


                                    DISHES/FLATWARE                                                                                              $40.00


                                    CHINA/SILVERWARE                                                                                             $50.00


                                    COOKWARE                                                                                                     $15.00


                                    1 LIVING ROOM CHAIR                                                                                          $20.00


                                    SOFA/LOVESEATS                                                                                               $50.00


                                    COFFEE/END TABLES                                                                                            $40.00


                                    1 BED                                                                                                        $20.00


                                    1 DRESSER                                                                                                    $30.00


                                    2 NIGHT STANDS                                                                                               $50.00


                                    BOOKS/CDS/DVDS/RECORDS                                                                                       $20.00


                                    KITCHEN TABLE                                                                                                $40.00


                                    PATIO FURNITURES                                                                                             $50.00


                                    2 - LIVING ROOM LAMPS                                                                                        $70.00


                                    AREA RUG                                                                                                     $80.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    COMPUTER - PERSONAL MACBOOK AIR                                                                            $350.00




Official Form 106A/B                                                 Schedule A/B: Property                                                        page 3
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 Debtor 1       DANIELLE KRISTINE LAFATA                                                            Case number (if known)


                                    TELEVISION                                                                                                     $150.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    1 MOUNTAIN BICYCLE                                                                                             $300.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    CLOTHING/SHOES                                                                                                 $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    WEDDING RING - APPRAISAL VALUE                                                                               $2,000.00


                                    COSTUME JEWELRY                                                                                                  $50.00


                                    WATCH                                                                                                              $5.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,770.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1          DANIELLE KRISTINE LAFATA                                                                                         Case number (if known)


16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       CHECKING                                FIFTH THIRD BANK - 2957                                               $6.27



                                              17.2.       SAVINGS                                 FIFTH THIRD BANK - 2335                                             $13.46



                                              17.3.       CHECKING                                ARIZONA FEDERAL CREDIT UNION - 2382                               $234.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              IRA                                                 SCHWAB ROTH IRA                                                 $6,952.62


                                              401(k)                                              THE STANDARD 401(k)                                           $30,224.18


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Official Form 106A/B                                                                       Schedule A/B: Property                                                       page 5
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 Debtor 1        DANIELLE KRISTINE LAFATA                                                                Case number (if known)

        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      SPECTRACELL EARNED BUT UNPAID WAGES                                                         $2,350.00


                                                      EARNED BUT UNPAID WAGES FROM MARICOPA
                                                      COMMUNITY COLLEGES                                                                            $643.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 6
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 Debtor 1        DANIELLE KRISTINE LAFATA                                                                                        Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
        Yes. Give specific information..

                                                          AMERICAN AIRLINES, AIRLINE MILES - 14,224 MILES                                                                   Unknown


                                                          DELTA AIRLINES, AIRLINE MILES - 19,865 MILES                                                                      Unknown


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $40,423.53


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        MACBOOK PRO COMPUTER                                                                                                                  $500.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 7
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 Debtor 1         DANIELLE KRISTINE LAFATA                                                                                              Case number (if known)

                   Yes. Describe.....


44. Any business-related property you did not already list
     No
        Yes. Give specific information.........



                                               BIRD REALTY, LLC                                                                                                                  $0.00



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................             $500.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $449,670.00
 56. Part 2: Total vehicles, line 5                                                                           $16,184.00
 57. Part 3: Total personal and household items, line 15                                                       $3,770.00
 58. Part 4: Total financial assets, line 36                                                                  $40,423.53
 59. Part 5: Total business-related property, line 45                                                            $500.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $60,877.53              Copy personal property total       $60,877.53

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $510,547.53




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 8
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 Fill in this information to identify your case:

 Debtor 1                 DANIELLE KRISTINE LAFATA
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      3600 N. HAYDEN ROAD, UNIT #3312                                $59,670.00                               $150,000.00      Ariz. Rev. Stat. § 33-1101(A)
      Scottsdale, AZ 85251 Maricopa
      County                                                                               100% of fair market value, up to
      Line from Schedule A/B: 1.2                                                          any applicable statutory limit

      2014 HONDA CROSSTOUR 54,159                                    $16,184.00                                  $6,000.00     Ariz. Rev. Stat. § 33-1125(8)
      miles
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      4 KITCHEN CHAIRS                                                    $20.00                                    $20.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      SMALL APPLIANCES                                                    $20.00                                    $20.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      DISHES/FLATWARE                                                     $40.00                                    $40.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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 Debtor 1    DANIELLE KRISTINE LAFATA                                                                    Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1 LIVING ROOM CHAIR                                                  $20.00                                    $20.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     SOFA/LOVESEATS                                                       $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.7
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     COFFEE/END TABLES                                                    $40.00                                    $40.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.8
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 BED                                                                $20.00                                    $20.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 DRESSER                                                            $30.00                                    $30.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.10
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 NIGHT STANDS                                                       $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.11
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     BOOKS/CDS/DVDS/RECORDS                                               $20.00                                    $20.00        Ariz. Rev. Stat. § 33-1125(5)
     Line from Schedule A/B: 6.12
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     KITCHEN TABLE                                                        $40.00                                    $40.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.13
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     PATIO FURNITURES                                                     $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 - LIVING ROOM LAMPS                                                $70.00                                    $70.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.15
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     AREA RUG                                                             $80.00                                    $80.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.16
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     COMPUTER - PERSONAL MACBOOK                                         $350.00                                   $350.00        Ariz. Rev. Stat. § 33-1125(7)
     AIR
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 1    DANIELLE KRISTINE LAFATA                                                                    Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     TELEVISION                                                          $150.00                                   $150.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 MOUNTAIN BICYCLE                                                  $300.00                                   $300.00        Ariz. Rev. Stat. § 33-1125(7)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CLOTHING/SHOES                                                      $300.00                                   $300.00        Ariz. Rev. Stat. § 33-1125(1)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     WEDDING RING - APPRAISAL                                         $2,000.00                                  $2,000.00        Ariz. Rev. Stat. § 33-1125(4)
     VALUE
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     WATCH                                                                  $5.00                                     $5.00       Ariz. Rev. Stat. § 33-1125(6)
     Line from Schedule A/B: 12.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING: ARIZONA FEDERAL                                           $234.00                                   $300.00        Ariz. Rev. Stat. § 33-1126(A)(9)
     CREDIT UNION - 2382
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: SCHWAB ROTH IRA                                             $6,952.62                                  $6,952.62        11 U.S.C. § 522(b)(3)(C)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): THE STANDARD 401(k)                                     $30,224.18                                $30,224.18         11 U.S.C. § 522(b)(3)(C)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     SPECTRACELL EARNED BUT                                           $2,350.00                                  $1,762.00        Ariz. Rev. Stat. § 33-1131(B)
     UNPAID WAGES
     Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     EARNED BUT UNPAID WAGES                                             $643.00                                   $482.25        Ariz. Rev. Stat. § 33-1131(B)
     FROM MARICOPA COMMUNITY
     COLLEGES                                                                              100% of fair market value, up to
     Line from Schedule A/B: 30.2                                                          any applicable statutory limit

     MACBOOK PRO COMPUTER                                                $500.00                                   $500.00        Ariz. Rev. Stat. § 33-1130(1)
     Line from Schedule A/B: 40.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    DANIELLE KRISTINE LAFATA                                                           Case number (if known)

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                            page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   DANIELLE KRISTINE LAFATA
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     DITECH                                   Describe the property that secures the claim:               $425,269.61               $390,000.00           $35,269.61
         Creditor's Name                          3509 N. 32ND STREET Phoenix, AZ
                                                  85018 Maricopa County
                                                  As of the date you file, the claim is: Check all that
         P.O. BOX 7169                            apply.
         Pasadena, CA 91109                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

 Date debt was incurred          4/2015                    Last 4 digits of account number        2617




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                          Case number (if known)
              First Name                 Middle Name                      Last Name


       SANTANDER
 2.2                                                                                                               $14,909.12           $16,184.00              $0.00
       CONSUMER USA                               Describe the property that secures the claim:
       Creditor's Name                            2014 HONDA CROSSTOUR 54,159
                                                  miles
                                                  As of the date you file, the claim is: Check all that
       P.O. BOX 660633                            apply.
       Dallas, TX 75266                                Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred        10/2018                     Last 4 digits of account number         4521


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $440,178.73
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $440,178.73

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     DANIELLE KRISTINE LAFATA
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          INTERNAL REVENUE SERVICE                               Last 4 digits of account number       2439             $11,540.00             $11,540.00                    $0.00
              Priority Creditor's Name
              PO BOX 7346                                            When was the debt incurred?           2016 AND 2017
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes                                                                        FEDERAL INCOME TAX DEBT

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

          AADVANTAGE MC WORLD ELIETE
 4.1      (BARCLAY)                                                  Last 4 digits of account number       2589                                           $46,223.41
          Nonpriority Creditor's Name
          P.O. BOX 60517                                             When was the debt incurred?           2017
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


          ABLE PERA PEREZ & GLADIS
 4.2      MORALES                                                    Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          A&G RENOVATIONS, LLC                                       When was the debt incurred?           2016
          3526 E. YALE STREET
          Phoenix, AZ 85008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


          ADAM CHILD, REAL ESTATE
 4.3      FINANCE CORP                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          14362 N. FRANK LOYD WRIGHT                                 When was the debt incurred?           2016
          BLVD
          STE. 1000
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.4      ADRIAN MARTINEZ                                            Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          MARTINEZ PLUMBING                                          When was the debt incurred?           2016
          4780 W. PALO VERDE DRIVE
          Glendale, AZ 85301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


          AMERICAN EXPRESS BLUE FOR
 4.5      BUSINESS                                                   Last 4 digits of account number       1003                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 0001                                                When was the debt incurred?           2016
          Los Angeles, CA 90096-8000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC


          AMERICAN EXPRESS BUSINESS
 4.6      GOLD                                                       Last 4 digits of account number       1003                                           $17,300.00
          Nonpriority Creditor's Name
          BOX 0001                                                   When was the debt incurred?           2017
          Los Angeles, CA 90096-8000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   BUSINESS CREDIT CARD




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

          AMERICAN EXPRESS DELTA
 4.7      RESERVE                                                    Last 4 digits of account number       3000                                             Unknown
          Nonpriority Creditor's Name
          BOX 0001                                                   When was the debt incurred?           2016
          Los Angeles, CA 90096-8000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.8      AMERICAN EXPRESS EVERYDAY                                  Last 4 digits of account number       1009                                             $2,724.00
          Nonpriority Creditor's Name
          BOX 0001                                                   When was the debt incurred?           2017
          Los Angeles, CA 90096-8000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.9      AMERICAN EXPRESS GOLD                                      Last 4 digits of account number       2003                                           $28,180.00
          Nonpriority Creditor's Name
          BOX 0001                                                   When was the debt incurred?           2017
          Los Angeles, CA 90096-8000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.1
 0        ANYTIME FITNESS/ABC FINANCIAL                              Last 4 digits of account number       1662                                               $146.00
          Nonpriority Creditor's Name
          P.O. BOX 54170                                             When was the debt incurred?           08/2016
          Irvine, CA 92619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   GYM MEMBERSHIP


 4.1
 1        ARIZONA BUSINESS BANK                                      Last 4 digits of account number       7995                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 790408                                              When was the debt incurred?           2016
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC

 4.1
 2        ARIZONA BUSINESS BANK VISA                                 Last 4 digits of account number       3024                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 790408                                              When was the debt incurred?           2016
          Saint Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.1
 3        BANK OF AMERICA                                            Last 4 digits of account number       2421                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 15796                                               When was the debt incurred?           2016
          Wilmington, DE 19886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC

 4.1
 4        BANK OF AMERICA                                            Last 4 digits of account number       7497                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 15796                                               When was the debt incurred?           2016
          Wilmington, DE 19886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC

 4.1
 5        BANK OF AMERICA                                            Last 4 digits of account number       7307                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 15796                                               When was the debt incurred?           2016
          Wilmington, DE 19886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.1      BANK OF AMERICA BUSINESS
 6        ADVANTAGE                                                  Last 4 digits of account number       6097                                           $40,996.84
          Nonpriority Creditor's Name
          PO BOX 15796                                               When was the debt incurred?           2016
          Wilmington, DE 19886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC


 4.1      BANK OF AMERICA BUSINESS
 7        ADVANTAGE                                                  Last 4 digits of account number       4707                                           $43,671.38
          Nonpriority Creditor's Name
          PO BOX 15796                                               When was the debt incurred?           2016
          Wilmington, DE 19886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC


 4.1      BANK OF AMERICA CASH
 8        REWARDS                                                    Last 4 digits of account number       0108                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 851001                                              When was the debt incurred?           2016
          Dallas, TX 75285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.1      BANK OF AMERICA CASH
 9        REWARDS VISA                                               Last 4 digits of account number       8053                                           $21,264.00
          Nonpriority Creditor's Name
          P.O. BOX 851001                                            When was the debt incurred?           2017
          Dallas, TX 75285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.2
 0        BNLM, LLC                                                  Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          3200 N. CENTRAL, STE. 200                                  When was the debt incurred?           2016
          Phoenix, AZ 85012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.2      BROWN EQUITY, BE LENDING,
 1        BEII, BELINE                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          ONE N. 1ST STREET, STE. 755                                When was the debt incurred?           2016
          Phoenix, AZ 85004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.2
 2        CANYON STATE SERVICING                                     Last 4 digits of account number       0000                                             Unknown
          Nonpriority Creditor's Name
          3333 E. CAMELBACK RD, STE. 112                             When was the debt incurred?           2016
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.2
 3        CAPITAL FUND I & II, LLC                                   Last 4 digits of account number       6108                                           $71,894.85
          Nonpriority Creditor's Name
          14555 N. SCOTTSDALE RD, #200                               When was the debt incurred?           12/2017
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         REAL ESTATE DEFICIENCY JUDGMENT
              Yes                                                       Other. Specify   (JUDGMENT LIEN)

 4.2
 4        CAPITAL ONE                                                Last 4 digits of account number       2808                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           2016
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.2
 5        CAPITAL ONE                                                Last 4 digits of account number       5755                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           2016
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.2
 6        CAPITAL ONE QUICKSILVER                                    Last 4 digits of account number       9425                                             Unknown
          Nonpriority Creditor's Name
          P.O. BOX 65099                                             When was the debt incurred?           2016
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.2
 7        CAPITAL ONE SPARK                                          Last 4 digits of account number       3781                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           2016
          City of Industry, CA 91716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.2      CENTRAL PHOENIX WOMENS
 8        HEALTHCARE                                                 Last 4 digits of account number       5855                                               $209.81
          Nonpriority Creditor's Name
          1313 E. OSBORN RD, #250                                    When was the debt incurred?           04/2017
          Phoenix, AZ 85014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2
 9        CHARLES THOMAS                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          CHARLES AND MARLENE THOMAS                                 When was the debt incurred?           2016
          FAMILY TRUST
          14260 W. ROANOKE AVE
          Goodyear, AZ 85395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.3
 0        CHASE CREDIT INK                                           Last 4 digits of account number       1852                                           $22,577.00
          Nonpriority Creditor's Name
          PO BOX 94014                                               When was the debt incurred?           2016
          Palatine, IL 60094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.3
 1        CHRISTIAN MURRIETA                                         Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          MURRIETA REMODELING, LLC                                   When was the debt incurred?           2016
          911 E. CAMELBACK ROAD, UNIT
          3039
          Phoenix, AZ 85014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.3      CITI/ADVANTAGE PLATINUM
 2        SELECT                                                     Last 4 digits of account number       8877                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 78045                                               When was the debt incurred?           2016
          Phoenix, AZ 85062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.3
 3        CITIBANK                                                   Last 4 digits of account number       7002                                           $34,509.33
          Nonpriority Creditor's Name
          P.O. BOX 78009                                             When was the debt incurred?           2017
          Phoenix, AZ 85062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD - BEST BUY




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.3
 4        CITY OF PHOENIX                                            Last 4 digits of account number       2172                                               $488.51
          Nonpriority Creditor's Name
          PO BOX 29100                                               When was the debt incurred?           2018
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CITY SERVICES BILL FOR MICHAEL
              Yes                                                       Other. Specify   LAFATA

 4.3
 5        COMENITY BANK                                              Last 4 digits of account number       3010                                             Unknown
          Nonpriority Creditor's Name
          P.O. BOX 659705                                            When was the debt incurred?           2016
          San Antonio, TX 78265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA - Z
              Yes                                                       Other. Specify   GALLERIE


 4.3      D&J CONSTRUCTION SERVICES,
 6        LLC                                                        Last 4 digits of account number       6743                                          $101,095.53
          Nonpriority Creditor's Name
          9565 W. KINGMAN STREET                                     When was the debt incurred?           2017
          Tolleson, AZ 85353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         SERVICES FOR FOX REMODELING, LLC
              Yes                                                       Other. Specify   (JUDGMENT LIEN)




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.3
 7        DENNIS KNUDSEN                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          K-TECH ENGINEERING & DESIGN,                               When was the debt incurred?           2016
          LLC
          5715 E. ESTRID CIRCLE
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.3
 8        DISCOVER                                                   Last 4 digits of account number       1235                                           $46,742.00
          Nonpriority Creditor's Name
          P.O. BOX 51908                                             When was the debt incurred?           2017
          Los Angeles, CA 90051-6208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD (JUDGMENT LIEN)


 4.3
 9        DISCOVER                                                   Last 4 digits of account number       3282                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 29033                                               When was the debt incurred?           2016
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.4
 0        DISCOVER MILES                                             Last 4 digits of account number       2766                                             $3,391.68
          Nonpriority Creditor's Name
          P.O. BOX 51908                                             When was the debt incurred?           2017
          Los Angeles, CA 90051-6208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD


 4.4
 1        DOUG HANSON                                                Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          DOUG HANSON ARCHITECTURE,                                  When was the debt incurred?           2016
          INC
          4239 E. CAMPBELL AVE
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.4
 2        FARMERS INSURANCE GROUP                                    Last 4 digits of account number       9678                                               $107.19
          Nonpriority Creditor's Name
          2200 E. WILLIAMS FIELD RD STE.                             When was the debt incurred?           9/2018
          200-11
          Gilbert, AZ 85295
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.4
 3        FIRST GLOBAL, LLC                                          Last 4 digits of account number       492                                              Unknown
          Nonpriority Creditor's Name
          3622 SILVER FARMS LANE                                     When was the debt incurred?           2016
          Traverse City, MI 49684-8795
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.4
 4        G.S. JAGGI                                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          IRIDUS INCOME FUND                                         When was the debt incurred?           2016
          1785 EAST SKYLINE DRIVE, STE.
          131
          Tucson, AZ 85718
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.4
 5        GREG AND CELESTE BIRD                                      Last 4 digits of account number       NONE                                             $5,000.00
          Nonpriority Creditor's Name
          23666 FORDSON DRIVE                                        When was the debt incurred?           1/2018
          Dearborn, MI 48124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   PERSONAL LOAN




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.4
 6        HOME DEPOT COMMERCIAL                                      Last 4 digits of account number       5267                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 9001030                                             When was the debt incurred?           2016
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         BUSINESS CREDIT CARD FOR FOX
              Yes                                                       Other. Specify   REMODELING, LLC

 4.4
 7        HOME DEPOT YARDI                                           Last 4 digits of account number       4816                                             Unknown
          Nonpriority Creditor's Name
          430 S. FAIRVIEW AVE                                        When was the debt incurred?           2016
          Goleta, CA 93117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.4
 8        JAMES GUAJARDO                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          WIN BUILDERS, LLC                                          When was the debt incurred?           2016
          3424 E. GREENWAY PKWY STE.
          100
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.4
 9        JAMES GUAJARDO                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          WIN INVESTOR REALTY, LLC                                   When was the debt incurred?           2016
          17916 N. 93RD STREET
          Scottsdale, AZ 85255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.5
 0        JAMES GUAJARDO                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          WEATH INVESTOR NETWORK                                     When was the debt incurred?           2016
          17916 N. 93RD STREET
          Scottsdale, AZ 85255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.5
 1        JEWETT INVESTMENT PARTNERS                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          1927 W. MITCHELL                                           When was the debt incurred?           2016
          Phoenix, AZ 85015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.5
 2        JOE THOMPSON                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          11252 CAMERON CT.                                          When was the debt incurred?           2016
          Fountain Hills, AZ 85268
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.5
 3        JOY OBERHOLTZER                                            Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          BOLD BRICKS, LLC                                           When was the debt incurred?           2016
          8902 E. VIA LINDA, #110-19
          Scottsdale, AZ 85258
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.5
 4        KIM RAMSEY                                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          HERITAGE FINANCIAL                                         When was the debt incurred?           2016
          10697 E. TERRA DRIVE
          Scottsdale, AZ 85258
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.5
 5        KIMBERLEE BERKBIGLER                                       Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          ABC VENTURE PARTNERS, LLC                                  When was the debt incurred?           2016
          4101 E. ENCINAS AVE
          Gilbert, AZ 85234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.5
 6        LAB CORP                                                   Last 4 digits of account number       6539                                               $285.43
          Nonpriority Creditor's Name
          P.O. BOX 2240                                              When was the debt incurred?           1/2018
          Burlington, NC 27216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.5
 7        LARRY KOHLER                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          10115 E. BELL ROAD, STE. 107-415                           When was the debt incurred?           2016
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.5
 8        LOWE'S                                                     Last 4 digits of account number       6841                                           $39,749.56
          Nonpriority Creditor's Name
          PO BOX 530914                                              When was the debt incurred?           2016
          Atlanta, GA 30353-0914
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD FOR MICHAEL LAFATA


 4.5
 9        LUIS BERUMEN                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          LHB CONSTRUCTION LLC                                       When was the debt incurred?           2016
          4747 N. 21ST AVE
          Phoenix, AZ 85015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.6
 0        MARK FELMAN                                                Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          AVOLAN 1, LLC                                              When was the debt incurred?           2016
          8302 N. 74TH PLACE
          Scottsdale, AZ 85258
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.6
 1        MERCHANTS MORTGAGE & TRUST                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          MERCHANGES FUNDING, LLC                                    When was the debt incurred?           2016
          P.O. BOX 912759
          Denver, CO 80291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.6
 2        MICHAEL J. ABOUD                                           Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          ABOUD & ABOUD PC                                           When was the debt incurred?           2016
          1661 N. SWAN ROAD, #234
          Tucson, AZ 85712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.6
 3        MICHAEL PENROD                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          ABC VENTURE PARTNERS, LLC                                  When was the debt incurred?           2016
          5025 N. CENTRAL, STE. 257
          Phoenix, AZ 85012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.6
 4        MICHAEL PENROD                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          MCP PROPERTIES                                             When was the debt incurred?           2016
          24 W. CAMELBACK RD, #A-257
          Phoenix, AZ 85013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.6
 5        MIDLAND CREDIT MANAGEMENT                                  Last 4 digits of account number       0660                                             $3,729.64
          Nonpriority Creditor's Name
          2365 NORTHSIDE DR., STE 300                                When was the debt incurred?           2016
          San Diego, CA 92108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA -
              Yes                                                       Other. Specify   CAPITAL ONE - 5046

 4.6
 6        MIDLAND FUNDING                                            Last 4 digits of account number       2285                                           $27,187.00
          Nonpriority Creditor's Name
          8875 AERO DR                                               When was the debt incurred?           2016
          STE 200
          San Diego, CA 92123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD - Z GALLERIE




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.6
 7        MIDLAND FUNDING                                            Last 4 digits of account number       7970                                          $108,595.74
          Nonpriority Creditor's Name
          8875 AERO DR                                               When was the debt incurred?           2016
          STE 200
          San Diego, CA 92123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA -
              Yes                                                       Other. Specify   HOME DEPOT

 4.6
 8        MIKE STEPHENSON                                            Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          9836 E. SIDEWINDER TRAIL                                   When was the debt incurred?           2016
          Scottsdale, AZ 85262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.6      NATIONAL CONSTRUCTION
 9        RENTALS                                                    Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          P.O. BOX 4503                                              When was the debt incurred?           2016
          Pacoima, CA 91333
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.7
 0        NELNET                                                     Last 4 digits of account number       1210                                           $14,601.30
          Nonpriority Creditor's Name
          P.O. BOX 2877                                              When was the debt incurred?           11/2006
          Omaha, NE 68103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.7
 1        NEXT STEP 599 SOLUTIONS LLC                                Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          601 E. CLARENDON AVE                                       When was the debt incurred?           2016
          Phoenix, AZ 85012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.7
 2        OLD STYLE ENTERPRISES                                      Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          4304 W. PARADISE DRIVE                                     When was the debt incurred?           2016
          Glendale, AZ 85304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.7
 3        ORCHARD FUNDING                                            Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          11333 N. SCOTTSDALE ROAD, #293                             When was the debt incurred?           2016
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.7
 4        PARKER DOORS & MORE                                        Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          2210-2 W. SHANGRI LA                                       When was the debt incurred?           2016
          Phoenix, AZ 85029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.7
 5        PATRICK PRUNTY                                             Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          MARSHALL REDDICK REAL                                      When was the debt incurred?           2016
          ESTATE
          4299 MACARTHUR BLVD, STE. 102
          Newport Beach, CA 92660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.7      PORFOLIO RECOVERY
 6        ASSOCIATES                                                 Last 4 digits of account number       0567                                           $30,315.75
          Nonpriority Creditor's Name
          120 CORPORATE BLVD., STE 100                               When was the debt incurred?           2016
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA -
              Yes                                                       Other. Specify   BEST BUY - 0567

 4.7
 7        PORTFOLIO RECOVERY ASSOC.                                  Last 4 digits of account number       7002                                           $34,509.33
          Nonpriority Creditor's Name
          P.O. BOX 12914                                             When was the debt incurred?           2017
          Norfolk, VA 23541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA-
              Yes                                                       Other. Specify   CITIBANK/BEST BUY

 4.7
 8        RLS                                                        Last 4 digits of account number       1347                                             Unknown
          Nonpriority Creditor's Name
          4455 E. CAMELBACK ROAD                                     When was the debt incurred?           2016
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 4.7
 9        RLS                                                        Last 4 digits of account number       1349                                             Unknown
          Nonpriority Creditor's Name
          4455 E. CAMELBACK ROAD                                     When was the debt incurred?           2016
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 0        RLS                                                        Last 4 digits of account number       1386                                             Unknown
          Nonpriority Creditor's Name
          4455 E. CAMELBACK ROAD                                     When was the debt incurred?           2016
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 1        RLS                                                        Last 4 digits of account number       1350                                             Unknown
          Nonpriority Creditor's Name
          4455 E. CAMELBACK ROAD                                     When was the debt incurred?           2016
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.8      ROD JONES, PRO REAL ESTATE
 2        SERVICES                                                   Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          CARJON CAPITAL, LLC                                        When was the debt incurred?           2016
          1147 LA SOMBRA DRIVE
          San Marcos, CA 92078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 3        RON NAWROCKI                                               Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          BI SOLUTIONS CORP                                          When was the debt incurred?           2016
          3971 N. VILLIAGE STREET
          Buckeye, AZ 85396
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 4        SAC HEATING & COOLING, LLC                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          14868 W. CAMERON DRIVE                                     When was the debt incurred?           2016
          Surprise, AZ 85379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.8
 5        SELL WHOLESALE FUNDING                                     Last 4 digits of account number       6017                                             Unknown
          Nonpriority Creditor's Name
          1649 E. BETHANY HOME ROAD                                  When was the debt incurred?           2016
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 6        SOLIS MAMMOGRAPHY PHOENIX                                  Last 4 digits of account number       8900                                             Unknown
          Nonpriority Creditor's Name
          1661 E. CAMELBACK RD #140                                  When was the debt incurred?           2017
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.8
 7        SOLUTION ORIENTED SERVICES                                 Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          SOLO 401K PLAN                                             When was the debt incurred?           2016
          22335 W. HIGHLAND AVE
          Phoenix, AZ 85015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.8
 8        STEVEN A. TURNER                                           Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          COYOTE CAPITAL INVESTMENTS,                                When was the debt incurred?           2016
          LLC
          15230 N. 75TH STREET, #2005
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.8
 9        SUPRA BILLING                                              Last 4 digits of account number       9026                                               $120.40
          Nonpriority Creditor's Name
          ARIZONA REGIONAL MLS                                       When was the debt incurred?           2/2018 - 8/2018
          130 S. PRIEST DRIVE, STE. 101
          Tempe, AZ 85281-2593
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         SERVICES
 4.9
 0        SYNCHRONY BANK                                             Last 4 digits of account number       6841                                           $39,749.56
          Nonpriority Creditor's Name
          P.O. BOX 530914                                            When was the debt incurred?           2016
          Atlanta, GA 30353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA -
              Yes                                                       Other. Specify   LOWE'S




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 4.9
 1        SYNCHRONY FINANCIAL                                        Last 4 digits of account number       7396                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 960061                                              When was the debt incurred?           2016
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR MICHAEL LAFATA -
              Yes                                                       Other. Specify   LIVING SPACES

 4.9
 2        TITLE SECURITY AGENCY                                      Last 4 digits of account number       UNKNOWN                                          Unknown
          Nonpriority Creditor's Name
          6390 E. TANQUE VERDE ROAD                                  When was the debt incurred?           2016
          Tucson, AZ 85712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.9
 3        VANN ENGINEERING                                           Last 4 digits of account number       NONE                                             Unknown
          Nonpriority Creditor's Name
          9013 N. 24TH AVE, STE. 7                                   When was the debt incurred?           2016
          Phoenix, AZ 85021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.9
 4        WASTE MANAGEMENT                                           Last 4 digits of account number       0381                                           $33,784.66
          Nonpriority Creditor's Name
          1001 FANNIN STREET                                         When was the debt incurred?           2016
          Houston, TX 77002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.9
 5        WESTSTAR MORTGAGE                                          Last 4 digits of account number       4540                                             Unknown
          Nonpriority Creditor's Name
          2525 E. CAMELBACK ROAD, #1101                              When was the debt incurred?           2016
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.9
 6        WESTSTAR MORTGAGE                                          Last 4 digits of account number       4530                                             Unknown
          Nonpriority Creditor's Name
          2525 E. CAMELBACK ROAD, #1101                              When was the debt incurred?           2016
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.9
 7        WESTSTAR MORTGAGE                                          Last 4 digits of account number       4790                                             Unknown
          Nonpriority Creditor's Name
          2525 E. CAMELBACK ROAD, #1101                              When was the debt incurred?           2016
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.9
 8        WESTSTAR MORTGAGE                                          Last 4 digits of account number       6170                                             Unknown
          Nonpriority Creditor's Name
          2525 E. CAMELBACK ROAD, #1101                              When was the debt incurred?           2016
          Phoenix, AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC


 4.9
 9        YARDI MARKETPLACE                                          Last 4 digits of account number       7002                                             Unknown
          Nonpriority Creditor's Name
          430 S. FAIRVIEW AVE                                        When was the debt incurred?           2016
          Goleta, CA 93117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES FOR FOX REMODELING, LLC




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 4.1
 00        YARDI MARKETPLACE                                         Last 4 digits of account number       6935                                                   $14,806.39
           Nonpriority Creditor's Name
           PO BOX 82569                                              When was the debt incurred?           2016
           Goleta, CA 93118
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         CREDIT CARD FOR FOX REMODELING,
              Yes                                                       Other. Specify   LLC

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS NATIONAL SERVICES INC                                     Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 469100                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046-9100
                                                               Last 4 digits of account number                  7002

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ATLANTIC CREDIT & FINANCE, INC                                Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 13386                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24033
                                                               Last 4 digits of account number                  8411

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BUREAU OF MEDICAL ECONOMICS                                   Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 20247                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85036-0247
                                                               Last 4 digits of account number                  4892

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BURSEY & ASSOCIATES                                           Line 4.66 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6740 N. ORACLE RD STE. 151                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Tucson, AZ 85704
                                                               Last 4 digits of account number                  2285

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CAPITAL MANAGEMENT                                            Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 SERVICES, LP                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 698 1/2 SOUTH OGDEN STREET
 Buffalo, NY 14206-2317
                                                               Last 4 digits of account number                  7340

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CHARLESTON, KELLY &                                           Line 4.94 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ASSOCIATES                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 150 E. SWDESFORD ROAD, STE.
 102
 Wayne, PA 19087
                                                               Last 4 digits of account number                  0381

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CLIENT SERVICES                                               Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 35 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                       Case number (if known)

 3451 S. HARRY S. TRUMAN BLVD                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                               Last 4 digits of account number                  5753

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT COLLECTION SERVICES                                    Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 55126                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Boston, MA 02205
                                                               Last 4 digits of account number                  2707

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT CONTROL LLC                                            Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 546                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Hazelwood, MO 63042
                                                               Last 4 digits of account number                  3923

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT CONTROL LLC                                            Line 4.65 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 546                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Hazelwood, MO 63042
                                                               Last 4 digits of account number                  3923

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT CORP SOLUTIONS INC                                     Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 DBA TASMAN CREDIT CORP                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 180 ELECTION ROAD, STE. 200
 Draper, UT 84020
                                                               Last 4 digits of account number                  6053

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CREDIT CORP SOLUTIONS INC,                                    Line 4.90 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 DBA TASMAN CC                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 63 EAST 11400 SOUTH 408
 Sandy, UT 84070
                                                               Last 4 digits of account number                  6053

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FINANCIAL ASSET MANAGEMENT                                    Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 665 MOLLY LANE, STE. 110                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Woodstock, GA 30189
                                                               Last 4 digits of account number                  2172

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GUGLIELMO & ASSOCIATES, PLLC                                  Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3040 NORTH CAMPBELL AVE, STE                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 100
 Tucson, AZ 85719
                                                               Last 4 digits of account number                  3000

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GUGLIELMO & ASSOCIATES, PLLC                                  Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3040 NORTH CAMPBELL AVE, STE                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 100
 Tucson, AZ 85719
                                                               Last 4 digits of account number                  2766

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GURSTEL LAW FIRM, PC                                          Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 9320 E RAINTREE DR                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Scottsdale, AZ 85260
                                                               Last 4 digits of account number                  4059

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LAW OFFICE OF CYNTHIA L.                                      Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 JOHNSON                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 11640 E. CARON STREET
 Scottsdale, AZ 85259
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 36 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                        Case number (if known)

                                                                                                                  6108

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LAW OFFICES OF PUCIN &                                        Line 4.99 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 FRIEDLAND, PC                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1699 E. WOODFIELD ROAD, STE.
 360A
 Schaumburg, IL 60173
                                                               Last 4 digits of account number                    7002

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LAW OFFICES OF PUCIN &                                        Line 4.100 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 FRIEDLAND, PC                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1699 E. WOODFIELD ROAD, STE.
 360A
 Schaumburg, IL 60173
                                                               Last 4 digits of account number                    6935

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 LCA COLLECTIONS                                               Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 2240                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Burlington, NC 27216
                                                               Last 4 digits of account number                    6539

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MERCANTILE                                                    Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 165 LAWRENCE BELL DRIVE STE.                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 100
 WILLIAMSVILLE, NY 14221
                                                               Last 4 digits of account number                    6B01

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MERCANTILE ADJUSTMENT                                         Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 BUREAU                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOX 9055
 Buffalo, NY 14231
                                                               Last 4 digits of account number                    0B02

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NATIONWIDE CREDIT INC                                         Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. BOX 14581                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50306-3581
                                                               Last 4 digits of account number                    1009

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PHILLIPS COHEN & ASSOCIATES,                                  Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 LTD                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 MAIL STOP 658
 1002 JUSTISON STREET
 Wilmington, DE 19801
                                                               Last 4 digits of account number                    2219

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ROBERT J. DUNN III                                            Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ZWICKER AND ASSOCIATES PC                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 1225 W. WASHINGTON STREET,
 STE. 110
 Tempe, AZ 85281
                                                               Last 4 digits of account number                    8854

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SAC HEATING & COOLING, LLC                                    Line 4.84 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3118 W. THOMAS ROAD, STE. 706                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85017
                                                               Last 4 digits of account number                    NONE

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 37 of 38
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                                      Case number (if known)

 SPARKS LAW GROUP, PLLC                                        Line 4.36 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 ONE N. 1ST STREET, STE. 795                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85004
                                                               Last 4 digits of account number                  6743

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.       $                   11,540.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                   11,540.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                   14,721.70
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                  819,234.59

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  833,956.29




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 38 of 38
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 Fill in this information to identify your case:

 Debtor 1                  DANIELLE KRISTINE LAFATA
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     DANIELLE KRISTINE LAFATA
                              First Name                          Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           Arizona         . Fill in the name and current address of that person.
                         MICHAEL LAFATA
                         3509 N. 32ND STREET
                         Phoenix, AZ 85018
                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         GREG BIRD                                                                                Schedule D, line   2.2
                23666 FORDSON DRIVE                                                                      Schedule E/F, line
                Dearborn, MI 48124
                                                                                                         Schedule G
                                                                                                       SANTANDER CONSUMER USA



    3.2         MICHAEL LAFATA                                                                           Schedule D, line
                3509 N. 32ND STREET                                                                      Schedule E/F, line         4.90
                Phoenix, AZ 85018
                                                                                                         Schedule G
                                                                                                       SYNCHRONY BANK




Official Form 106H                                                                 Schedule H: Your Codebtors                                    Page 1 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.16
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA BUSINESS ADVANTAGE



    3.4      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.17
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA BUSINESS ADVANTAGE



    3.5      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.12
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ARIZONA BUSINESS BANK VISA



    3.6      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.5
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         AMERICAN EXPRESS BLUE FOR BUSINESS



    3.7      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.7
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         AMERICAN EXPRESS DELTA RESERVE



    3.8      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.11
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ARIZONA BUSINESS BANK



    3.9      MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.18
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA CASH REWARDS



    3.10     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.76
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         PORFOLIO RECOVERY ASSOCIATES




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 2 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.24
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CAPITAL ONE



    3.12     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.25
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CAPITAL ONE



    3.13     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.65
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MIDLAND CREDIT MANAGEMENT



    3.14     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.27
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CAPITAL ONE SPARK



    3.15     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.26
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CAPITAL ONE QUICKSILVER



    3.16     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.30
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CHASE CREDIT INK



    3.17     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.39
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         DISCOVER



    3.18     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.47
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         HOME DEPOT YARDI




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 3 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.46
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         HOME DEPOT COMMERCIAL



    3.20     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.67
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MIDLAND FUNDING



    3.21     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.91
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         SYNCHRONY FINANCIAL



    3.22     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.58
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         LOWE'S



    3.23     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.35
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         COMENITY BANK



    3.24     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.13
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA



    3.25     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.14
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA



    3.26     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.15
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BANK OF AMERICA




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.27     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.32
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CITI/ADVANTAGE PLATINUM SELECT



    3.28     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.21
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BROWN EQUITY, BE LENDING, BEII, BELINE



    3.29     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.44
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         G.S. JAGGI



    3.30     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.54
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         KIM RAMSEY



    3.31     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.62
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MICHAEL J. ABOUD



    3.32     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.63
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MICHAEL PENROD



    3.33     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.64
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MICHAEL PENROD



    3.34     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.55
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         KIMBERLEE BERKBIGLER




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 5 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.35     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.3
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ADAM CHILD, REAL ESTATE FINANCE CORP



    3.36     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.48
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JAMES GUAJARDO



    3.37     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.49
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JAMES GUAJARDO



    3.38     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.50
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JAMES GUAJARDO



    3.39     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.75
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         PATRICK PRUNTY



    3.40     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.53
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JOY OBERHOLTZER



    3.41     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.88
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         STEVEN A. TURNER



    3.42     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.83
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         RON NAWROCKI




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 6 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.43     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.82
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ROD JONES, PRO REAL ESTATE SERVICES



    3.44     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.52
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JOE THOMPSON



    3.45     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.68
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MIKE STEPHENSON



    3.46     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.60
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MARK FELMAN



    3.47     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.57
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         LARRY KOHLER



    3.48     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.29
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CHARLES THOMAS



    3.49     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.61
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         MERCHANTS MORTGAGE & TRUST



    3.50     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.73
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ORCHARD FUNDING




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 7 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.51     MICHAEL LAFATA                                                                 Schedule D, line
             3509 N. 32ND STREET                                                            Schedule E/F, line   4.43
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         FIRST GLOBAL, LLC



    3.52     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.87
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         SOLUTION ORIENTED SERVICES



    3.53     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.51
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         JEWETT INVESTMENT PARTNERS



    3.54     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.71
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         NEXT STEP 599 SOLUTIONS LLC



    3.55     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.20
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         BNLM, LLC



    3.56     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.2
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ABLE PERA PEREZ & GLADIS MORALES



    3.57     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.31
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CHRISTIAN MURRIETA



    3.58     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.59
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         LUIS BERUMEN




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 8 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.59     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.84
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         SAC HEATING & COOLING, LLC



    3.60     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.69
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         NATIONAL CONSTRUCTION RENTALS



    3.61     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.74
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         PARKER DOORS & MORE



    3.62     MICHAEL LAFATA                                                               Schedule D, line
             3509 N. 32ND STREET                                                          Schedule E/F, line 4.94
             Phoenix, AZ 85018
                                                                                          Schedule G
                                                                                         WASTE MANAGEMENT



    3.63     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.93
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         VANN ENGINEERING



    3.64     MICHAEL LAFATA                                                               Schedule D, line
             3509 N. 32ND STREET                                                          Schedule E/F, line 4.95
             Phoenix, AZ 85018
                                                                                          Schedule G
                                                                                         WESTSTAR MORTGAGE



    3.65     MICHAEL LAFATA                                                               Schedule D, line
             3509 N. 32ND STREET                                                          Schedule E/F, line 4.96
             Phoenix, AZ 85018
                                                                                          Schedule G
                                                                                         WESTSTAR MORTGAGE



    3.66     MICHAEL LAFATA                                                               Schedule D, line
             3509 N. 32ND STREET                                                          Schedule E/F, line 4.97
             Phoenix, AZ 85018
                                                                                          Schedule G
                                                                                         WESTSTAR MORTGAGE




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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.67     MICHAEL LAFATA                                                               Schedule D, line
             3509 N. 32ND STREET                                                          Schedule E/F, line 4.98
             Phoenix, AZ 85018
                                                                                          Schedule G
                                                                                         WESTSTAR MORTGAGE



    3.68     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.85
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         SELL WHOLESALE FUNDING



    3.69     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.78
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         RLS



    3.70     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.72
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         OLD STYLE ENTERPRISES



    3.71     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.41
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         DOUG HANSON



    3.72     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.37
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         DENNIS KNUDSEN



    3.73     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.22
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CANYON STATE SERVICING



    3.74     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.4
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         ADRIAN MARTINEZ




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 10 of 11
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 Debtor 1 DANIELLE KRISTINE LAFATA                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.75     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 2.1
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         INTERNAL REVENUE SERVICE



    3.76     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.34
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         CITY OF PHOENIX



    3.77     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.100
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         YARDI MARKETPLACE



    3.78     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line 4.77
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         PORTFOLIO RECOVERY ASSOC.



    3.79     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.81
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         RLS



    3.80     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.80
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         RLS



    3.81     MICHAEL LAFATA                                                                Schedule D, line
             3509 N. 32ND STREET                                                           Schedule E/F, line    4.79
             Phoenix, AZ 85018
                                                                                           Schedule G
                                                                                         RLS



    3.82     MICHAEL LAFATA                                                                 Schedule D, line
             3509 N. 32ND STREET                                                            Schedule E/F, line 4.92
             Phoenix, AZ 85018
                                                                                            Schedule G
                                                                                         TITLE SECURITY AGENCY




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 11 of 11
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Fill in this information to identify your case:

Debtor 1                      DANIELLE KRISTINE LAFATA

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            ADJUNCT FACULTY
       Include part-time, seasonal, or
       self-employed work.                                         MARICOPA COMMUNITY
                                             Employer's name       COLLEGES
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   2411 W 14TH ST
                                                                   Tempe, AZ 85281

                                             How long employed there?         1 YEAR

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $          889.00      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $        889.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
Debtor 1   DANIELLE KRISTINE LAFATA                                                              Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $        889.00       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $          94.00      $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $           0.00      $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $           0.00      $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $           0.00      $               N/A
     5e.    Insurance                                                                     5e.        $           0.00      $               N/A
     5f.    Domestic support obligations                                                  5f.        $           0.00      $               N/A
     5g.    Union dues                                                                    5g.        $           0.00      $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $           0.00 +    $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $              94.00      $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $            795.00       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      2,533.33       $               N/A
     8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,533.33       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,328.33 + $           N/A = $          3,328.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         3,328.33
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
Fill in this information to identify your case:

Debtor 1                 DANIELLE KRISTINE LAFATA                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                        MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           227.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Debtor 1     DANIELLE KRISTINE LAFATA                                                                  Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 130.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  50.00
      6d. Other. Specify: INTERNET                                                           6d. $                                                  40.00
7.    Food and housekeeping supplies                                                           7. $                                                315.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 80.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 425.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  10.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  200.00
      15c. Vehicle insurance                                                               15c. $                                                  135.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  268.37
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: FEDERAL INCOME TAX DEBT PAYMENTS                                17c. $                                                  300.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    MISCELLANEOUS AND CONTIGENCY EXPENSES                               21. +$                                                100.00
      UNION OR PROFESSIONAL DUES                                                                  +$                                                50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,330.37
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,330.37
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,328.33
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,330.37

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                   -2.04

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
 Fill in this information to identify your case:

 Debtor 1                    DANIELLE KRISTINE LAFATA
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ DANIELLE KRISTINE LAFATA                                              X
              DANIELLE KRISTINE LAFATA                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date       April 2, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                 DANIELLE KRISTINE LAFATA
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:               Dates Debtor 2
                                                                 lived there                                                      lived there
        2117 E. WELDON AVE                                       From-To:                       Same as Debtor 1                     Same as Debtor 1
        Phoenix, AZ 85018                                        01/2014 - 04/2016                                                From-To:



        3509 N. 32ND STREET                                      From-To:                       Same as Debtor 1                     Same as Debtor 1
        Phoenix, AZ 85018                                        04/2016 - 01/2018                                                From-To:



        2414 N. 38TH STREET                                      From-To:                       Same as Debtor 1                     Same as Debtor 1
        Phoenix, AZ 85008                                        01/2018 - 05/2018                                                From-To:



        23666 FORDSON DRIVE                                      From-To:                       Same as Debtor 1                     Same as Debtor 1
        Dearborn, MI 48124                                       05/2018 - 09/2018                                                From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



 Part 2       Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $4,056.59          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                        $10,768.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $10,664.26           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                        $11,661.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                        $74,769.00           Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
                                                  Sources of income                 Gross income from              Sources of income         Gross income
                                                  Describe below.                   each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 For last calendar year:                          SALE OF VACANT                                $20,700.00
 (January 1 to December 31, 2018 )                LOT OWNED BY EX
                                                  HUSBAND'S
                                                  BUSINESS, FOX
                                                  REMODLEING LLC




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
                                                   2017 ARIZONA                                       $50.00
                                                   STATE INCOME TAX
                                                   REFUND FORM 140


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       AMERICAN EXPRESS NATIONAL                                 CIVIL                      MARICOPA COUNTY                            Pending
       BANK                                                                                 SUPERIOR COURT                             On appeal
       vs.                                                                                  PO BOX 25339
                                                                                                                                       Concluded
       DANIELLE LAFATA                                                                      Phoenix, AZ 85002
       CV2018-054059
                                                                                                                                    JUDGMENT OF DISMISSAL

       DISCOVER BANK                                             CIVIL                      MARICOPA COUNTY                            Pending
       vs.                                                                                  SUPERIOR COURT                             On appeal
       DANIELLE KRISTINE LAFATA                                                             PO BOX 25339
                                                                                                                                       Concluded
       CV2018-093000                                                                        Phoenix, AZ 85002
                                                                                                                                    JUDGMENT LIEN

       AMERICAN EXPRESS BANK FSB                                 CIVIL                      MARICOPA COUNTY                            Pending
       vs.                                                                                  SUPERIOR COURT                             On appeal
       DANIELLE LAFATA                                                                      PO BOX 25339
                                                                                                                                       Concluded
       BIRD REALTY LLC                                                                      Phoenix, AZ 85002
       CV2017-008854
                                                                                                                                    APPLICATION OF
                                                                                                                                    DEFAULT

       CAPITAL FUND I, LLC                                       CIVIL                      MARICOPA COUNTY                            Pending
       CAPITAL FUND II, LLC                                                                 SUPERIOR COURT                             On appeal
       vs.                                                                                  PO BOX 25339
                                                                                                                                       Concluded
       FOX REMODELING LLC                                                                   Phoenix, AZ 85002
       MICHAEL LAFATA
                                                                                                                                    JUDGMENT LIEN
       DANIELLE LAFATA
       CV2017-056108

       D&J CONSTRUCTION SERVICES                                 CIVIL                      MARICOPA COUNTY                            Pending
       LLC                                                                                  SUPERIOR COURT                             On appeal
       vs.                                                                                  PO BOX 25339
                                                                                                                                       Concluded
       MICHAEL LAFATA                                                                       Phoenix, AZ 85002
       FOX REMODELING LLC
                                                                                                                                    APPLICATION FOR WRIT
       DANIELLE LAFATA
                                                                                                                                    OF GARNISHMENT,
       WELLS FARGO BANK NA
                                                                                                                                    JUDGMENT LIEN
       BANK OF AMERICA NA
       JP MORGAN CHASE NA
       CV2017-006743

       MARY LEPRINO                                              CIVIL                      MARICOPA COUNTY                            Pending
       JOANIE PROPERTIES LLC                                                                SUPERIOR COURT                             On appeal
       vs.                                                                                  PO BOX 25339
                                                                                                                                       Concluded
       MICHAEL LAFATA                                                                       Phoenix, AZ 85002
       DANIELLE LAFATA
                                                                                                                                    ORDER OF DISMISSAL
       FOX REMODELING LLC
       CV2017-009281

       DISCOVER BANK                                             CIVIL                      ARCADIA BILTMORE                           Pending
       vs.                                                                                  JUSTICE                                    On appeal
       DANIELLE LAFATA                                                                      620 W. JACKSON STREET
                                                                                                                                       Concluded
       CC2018-118808                                                                        Phoenix, AZ 85003

       MIDLAND FUNDING LLC                                       CIVIL                      MARICOPA COUNTY                            Pending
       vs.                                                                                  SUPERIOR COURT                             On appeal
       DANIELLE LAFATA                                                                      201 WEST JEFFERSON
                                                                                                                                       Concluded
       CV2018-097901                                                                        STREET
                                                                                            Phoenix, AZ 85003
                                                                                                                                    JUDGMENT OF DISMISSAL
                                                                                                                                    FOR LACK OF SERVICE

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       AMERICAN EXPRESS NATIONAL                                 CIVIL                      MARICOPA COUNTY                             Pending
       BANK                                                                                 SUPERIOR COURT                              On appeal
       vs.                                                                                  PO BOX 25339
                                                                                                                                        Concluded
       DANIELLE LAFATA aka DANIELLE                                                         Phoenix, AZ 85002
       K LAFATA
       CV2018-055410


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       COX LAW OFFICES                                               CASH                                                     09/19/2018                $3,900.00
       P.O. BOX 2324
       Gilbert, AZ 85299


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       TOM KOTT                                                      2014 STAFF WORLD SERIES                    $1,000.00                       05/2018
       2404 COURTNEY MEADOWS CT                                      RING, FMV $400.00 -
       Tampa, FL 33619                                               $1,000.00

       NONE

       GREG GEISER                                                   2010 KLX 100CC DIRT BIKE,                  $1,050.00                       05/2018
       8628 W. VILLAGE DRIVE                                         FMV $1,200.00
       Peoria, AZ 85382

       NONE

       CHRISTINA HIEB                                                GOLF CLUBS WORTH                           $300.00                         08/31/2018
       125 S. MAIN STREET, #121                                      $300.00
       Sebastopol, CA 95472

       NONE

       SIMIN LEVINSON                                                GIANT AVAIL ROAD BIKE                      $350.00 CASH                    9/19/2018
       4132 E. MINNEZONA DRIVE                                       WITH MISSING TIRE WORTH
       Phoenix, AZ 85018                                             $350.00

       NONE



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       CELESTE BIRD                                                  TENNIS BRACELET WORTH                      $1,100.00                    09/26/2018
       23666 FORDSON DRIVE                                           $275.00, WHITE GOLD WITH
       Dearborn, MI 48124                                            STONE BRACELET WORTH
                                                                     $525.00, AND WHITE GOLD
       MOTHER                                                        RING WITH STONES WORTH
                                                                     $300.00. TOTAL VALUE
                                                                     $1,100.00

       ERIC MEYER                                                    3 STONE DIAMOND                            $400.00 CASH                 9/26/2018
       1801 BASSET STREET, APT. 216                                  NECKLACE WORTH $200.00
       Denver, CO 80202                                              AND WHITE GOLD
                                                                     NECKLACE WITH
       NONE                                                          DIFFERENT STONES
                                                                     WORTH $200.00

       PEGGY GOMEZ                                                   2003 AUDI TT ROADSTER                      $3,000.00                    10/23/2018
       7160 E. KIERLAND BLVD, #313                                   CONVERTIBLE APPRAISED
       Scottsdale, AZ 85254                                          AT $2,858.00

       NONE


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       BANK OF AMERICA                                           XXXX-7077                    Checking                  05/2018                            $0.00
       SCOTTSDALE, AZ                                                                         Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       BANK OF AMERICA                                           XXXX-9282                    Checking                  05/2018                            $0.00
       SCOTTSDALE, AZ                                                                         Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                      Case number (if known)



       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was       Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,      before closing or
       Code)                                                                                                            moved, or                   transfer
                                                                                                                        transferred
       BANK OF AMERICA                                           XXXX-4461                        Checking              05/2018                         $0.00
       SCOTTSDALE, AZ                                                                             Savings
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other

       BANK OF AMERICA                                           XXXX-9289                        Checking              05/2018                         $0.00
       SCOTTSDALE, AZ                                                                             Savings
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other

       BANK OF AMERICA                                           XXXX-4937                        Checking              05/2018                         $0.00
       SCOTTSDALE, AZ                                                                             Savings
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?              Describe the contents         Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                        have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access              Describe the contents         Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                  Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                         Case number (if known)



      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       DANIELLE LAFATA, NUTRITIONIST                             NUTRITION CONSULTING                                EIN:       NONE
       P.O. BOX 701
       Scottsdale, AZ 85252                                      DANIELLE LAFATA                                     From-To    03/2018 TO CURRENT

       BIRD REALTY, LLC                                          REALTY                                              EIN:       XX-XXXXXXX
       3509 N/ 32ND STREET
       Phoenix, AZ 85018                                         DANA BUFFKIN                                        From-To    01/2016 TO CURRENT
                                                                 DAVID SMITH ASSOCIATES, LLC
                                                                 901 45TH AVE SOUTH
                                                                 NORTH MYRTLE BEACH, SC
                                                                 29582




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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 Debtor 1      DANIELLE KRISTINE LAFATA                                                                    Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ DANIELLE KRISTINE LAFATA
 DANIELLE KRISTINE LAFATA                                                Signature of Debtor 2
 Signature of Debtor 1

 Date      April 2, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
 Fill in this information to identify your case:

 Debtor 1                 DANIELLE KRISTINE LAFATA
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         DITECH                                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of       3509 N. 32ND STREET Phoenix,                       Reaffirmation Agreement.
    property             AZ 85018 Maricopa County                           Retain the property and [explain]:
    securing debt:



    Creditor's         SANTANDER CONSUMER USA                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of       2014 HONDA CROSSTOUR                               Reaffirmation Agreement.
    property             54,159 miles                                       Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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 Debtor 1      DANIELLE KRISTINE LAFATA                                                              Case number (if known)


 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ DANIELLE KRISTINE LAFATA                                                 X
       DANIELLE KRISTINE LAFATA                                                         Signature of Debtor 2
       Signature of Debtor 1

       Date        April 2, 2019                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              DANIELLE KRISTINE LAFATA
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Arizona                                    2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                       $
        Ordinary and necessary operating expenses                    -$
        Net monthly income from a business,                                                  Copy
        profession, or farm                                          $                       here -> $                            $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                         -$
        Net monthly income from rental or other real property             $           Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     DANIELLE KRISTINE LAFATA                                                                Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ DANIELLE KRISTINE LAFATA
                DANIELLE KRISTINE LAFATA
                Signature of Debtor 1
        Date April 2, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Fill in this information to identify your case:

 Debtor 1            DANIELLE KRISTINE LAFATA

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Arizona

 Case number                                                                                       Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                          ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Arizona
 In re       DANIELLE KRISTINE LAFATA                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,900.00
             Prior to the filing of this statement I have received                                        $                     3,900.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 2, 2019                                                            /s/ Jeffrey Cox
     Date                                                                     Jeffrey Cox 26953
                                                                              Signature of Attorney
                                                                              Cox Law Offices
                                                                              P.O. Box 2324
                                                                              Gilbert, AZ 85299
                                                                              480-820-3600 Fax: 480-820-4800
                                                                              farnsworthcourt@gmail.com
                                                                              Name of law firm




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                                                               United States Bankruptcy Court
                                                                       District of Arizona
 In re      DANIELLE KRISTINE LAFATA                                                                     Case No.
                                                                                Debtor(s)                Chapter    7

                                                                                                         Check if this is an
                                                                                                      Amended/Supplemental Mailing List
                                                                                                      (Include only newly added or
                                                                                                      changed creditors.)


                                                           MAILING LIST DECLARATION


            I, DANIELLE KRISTINE LAFATA , do hereby certify, under penalty of perjury, that the Master Mailing List, consisting

of 12 page(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date: April 2, 2019                                                 /s/ DANIELLE KRISTINE LAFATA
                                                                     DANIELLE KRISTINE LAFATA
                                                                     Signature of Debtor

 Date: April 2, 2019                                                 /s/ Jeffrey Cox
                                                                     Signature of Attorney
                                                                     Jeffrey Cox 26953
                                                                     Cox Law Offices
                                                                     P.O. Box 2324
                                                                     Gilbert, AZ 85299
                                                                     480-820-3600 Fax: 480-820-4800




MML_Requirements_8-2018                                                                                                                  MML-3

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BANK OF AMERICA BUSINESS ADVANTAGE
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